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                                                                  06/25/2024
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14                          UNITED STATES DISTRICT COURT

15                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

16   UNITED STATES OF AMERICA,               No. CR    8:24-cr-00080-HDV
17             Plaintiff,                    PLEA AGREEMENT FOR DEFENDANT
                                             MATHEW R. BOWYER
18                  v.

19   MATHEW R. BOWYER,

20             Defendant.

21

22        1.   Subject to the approval of the Department of Justice, Tax
23   Division, this constitutes the plea agreement between MATHEW R.
24   BOWYER (“defendant”) and the United States Attorney’s Office for the
25   Central District of California (the “USAO”) in the investigation of
26   defendant’s conduct described in the agreed-to factual basis set
27   forth in Attachment A to this agreement.         This agreement is limited
28   to the USAO and cannot bind any other federal, state, local, or
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 1   foreign prosecuting, enforcement, administrative, or regulatory

 2   authorities.

 3                             DEFENDANT’S OBLIGATIONS

 4        2.   Defendant agrees to:

 5             a.    Give up the right to indictment by a grand jury and,

 6   at the earliest opportunity requested by the USAO and provided by the

 7   Court, appear and plead guilty to a three-count information in the

 8   form attached to this agreement as Exhibit A or a substantially

 9   similar form, which charges defendant with Operating an Unlawful

10   Gambling Business, in violation of 18 U.S.C. § 1955; Transactional

11   Money Laundering in violation of 18 U.S.C. § 1957; and Subscribing to

12   a False Tax Return, in violation of 26 U.S.C. § 7206(1).

13             b.    Not contest facts agreed to in this agreement.

14             c.    Abide by all agreements regarding sentencing contained

15   in this agreement.

16             d.    Appear for all court appearances, surrender as ordered

17   for service of sentence, obey all conditions of any bond, and obey

18   any other ongoing court order in this matter.

19             e.    Not commit any crime; however, offenses that would be

20   excluded for sentencing purposes under United States Sentencing

21   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

22   within the scope of this agreement.

23             f.    Be truthful at all times with the United States

24   Probation and Pretrial Services Office and the Court.

25             g.    Pay the applicable special assessments at or before

26   the time of sentencing unless defendant has demonstrated a lack of
27   ability to pay such assessments.

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 1                h.   Defendant agrees that any and all criminal debt

 2   obligations ordered by the Court will be due as ordered by the Court.

 3   The government is not precluded from pursuing, in excess of any

 4   payment schedule set by the Court, any and all available remedies by

 5   which to satisfy defendant’s payment of the full financial

 6   obligation, including referral to the Treasury Offset Program.

 7                i.   Complete the Financial Disclosure Statement on a form

 8   provided by the USAO and, within 30 days of defendant’s entry of a

 9   guilty plea, deliver the signed and dated statement, along with all
10   of the documents requested therein, to the USAO by either email at

11   usacac.FinLit@usdoj.gov (preferred) or mail to the USAO Financial

12   Litigation Section at 300 North Los Angeles Street, Suite 7516, Los

13   Angeles, CA 90012.      Defendant agrees that defendant’s ability to pay

14   criminal debt shall be assessed based on the completed Financial

15   Disclosure Statement and all required supporting documents, as well

16   as other relevant information relating to ability to pay.
17        3.      Defendant further agrees:

18                a.   To forfeit all right, title, and interest in and to

19   any and all monies, properties, and/or assets of any kind, derived

20   from or acquired as a result of the illegal activity charged in Count

21   One of the information to which defendant is pleading guilty,

22   specifically including, but not limited to, the following

23   (collectively, the “Forfeitable Assets”):

24                     i.    $257,923 in U.S. currency seized on or about

25   October 5, 2023 from defendant’s residence; and

26                     ii.    Casino chips with a value of approximately
27   $14,830, seized on or about October 5, 2023 from defendant’s

28   residence.
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 1             b.    To the Court’s entry of an order of forfeiture at or

 2   before sentencing with respect to the Forfeitable Assets and to the

 3   forfeiture of the assets.

 4             c.    To take whatever steps are necessary to pass to the

 5   United States clear title to the Forfeitable Assets, including,

 6   without limitation, the execution of a consent decree of forfeiture

 7   and the completing of any other legal documents required for the

 8   transfer of title to the United States.

 9             d.    Not to contest any administrative forfeiture
10   proceedings or civil judicial proceedings commenced against the

11   Forfeitable Assets.    If defendant submitted a claim and/or petition

12   for remission for all or part of the Forfeitable Assets on behalf of

13   himself or any other individual or entity, defendant shall and hereby

14   does withdraw any such claims or petitions, and further agrees to

15   waive any right he may have to seek remission or mitigation of the

16   forfeiture of the Forfeitable Assets.
17             e.    Not to assist any other individual in any effort

18   falsely to contest the forfeiture of the Forfeitable Assets.

19             f.    Not to claim that reasonable cause to seize the

20   Forfeitable Assets was lacking.

21             g.    To prevent the transfer, sale, destruction, or loss of

22   any and all assets described above to the extent defendant has the

23   ability to do so.

24             h.    That forfeiture of Forfeitable Assets shall not be

25   counted toward satisfaction of any special assessment, fine,

26   restitution, costs, or other penalty the Court may impose.
27             i.    With respect to any criminal forfeiture ordered as a

28   result of this plea agreement, defendant waives: (1) the requirements
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 1   of Federal Rules of Criminal Procedure 32.2 and 43(a) regarding

 2   notice of the forfeiture in the charging instrument, announcements of

 3   the forfeiture sentencing, and incorporation of the forfeiture in the

 4   judgment; (2) all constitutional and statutory challenges to the

 5   forfeiture (including by direct appeal, habeas corpus or any other

 6   means); and (3) all constitutional, legal, and equitable defenses to

 7   the forfeiture of the Forfeitable Assets in any proceeding on any

 8   grounds including, without limitation, that the forfeiture

 9   constitutes an excessive fine or punishment.        Defendant acknowledges
10   that forfeiture of the Forfeitable Assets is part of the sentence

11   that may be imposed in this case and waives any failure by the Court

12   to advise defendant of this, pursuant to Federal Rule of Criminal

13   Procedure 11(b)(1)(J), at the time the Court accepts defendant’s

14   guilty pleas.

15        4.   Defendant admits that defendant received $4,030,938 of

16   unreported income for calendar year 2022.        Defendant agrees that:
17             a.    Defendant will make his best efforts to pay to the

18   Fiscal Clerk of the Court at or before sentencing all additional

19   taxes assessed by the Internal Revenue Service         pursuant to the

20   closing agreement referred to in Paragraph 4(f) and will make his

21   best efforts to promptly pay to the Fiscal Clerk of the Court all

22   additional taxes thereafter determined by the IRS to be owing as a

23   result of any computational error. Payments may be made to the Clerk,

24   United States District Court, Fiscal Department, 255 East Temple

25   Street, Room 1178, Los Angeles, California 90012.

26             b.    If defendant files any amended return for tax year
27   2022, nothing in this agreement forecloses or limits the ability of

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 1   the Internal Revenue Service to examine and make adjustments to

 2   defendant’s return after filing.

 3             c.    Defendant is liable for the fraud penalty imposed by

 4   the Internal Revenue Code, 26 U.S.C. § 6663, on the understatements

 5   of tax liability for 2022.

 6             d.    Defendant gives up any and all objections that could

 7   be asserted to the Examination Division of the Internal Revenue

 8   Service receiving materials or information obtained during the

 9   criminal investigation of this matter, including materials and
10   information obtained through grand jury subpoenas.

11             e.    Defendant will sign closing agreements as requested by

12   the Internal Revenue Service, permitting the Internal Revenue Service

13   to assess and collect the total sum of $1,613,280, which comprises

14   the tax liabilities, as well as assess and collect the civil fraud

15   penalty for each year and statutory interest, on the tax liabilities,

16   as provided by law.
17             f.    Authorize the USAO to obtain a credit report upon

18   returning a signed copy of this plea agreement.

19             g.    Consent to the USAO inspecting and copying all of

20   defendant’s financial documents and financial information held by the

21   United States Probation and Pretrial Services Office.

22             h.    Agree to and not oppose the imposition of the

23   following conditions of probation or supervised release:          The

24   defendant shall submit defendant’s person and any property under

25   defendant’s control, including any residence, vehicle, papers,

26   computer and other electronic communication or data storage devices
27   and media, and effects, to suspicion-less search and seizure at any

28   time of the day or night by any law enforcement or probation officer,
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 1   with or without a warrant, and with or without cause; and if stopped

 2   or questioned by a law enforcement officer for any reason, defendant

 3   shall notify that officer that defendant is on probation or federal

 4   supervised release and subject to search.

 5        5.   Defendant further agrees to cooperate fully with the USAO,

 6   the Department of Homeland Security, Homeland Security

 7   Investigations, and the Internal Revenue Service Criminal

 8   Investigation Division, and, as directed by the USAO, any other

 9   federal, state, local, or foreign prosecuting, enforcement,
10   administrative, or regulatory authority.        This cooperation requires

11   defendant to:

12             a.    Respond truthfully and completely to all questions

13   that may be put to defendant, whether in interviews, before a grand

14   jury, or at any trial or other court proceeding.

15             b.    Attend all meetings, grand jury sessions, trials or

16   other proceedings at which defendant’s presence is requested by the
17   USAO or compelled by subpoena or court order.

18             c.    Produce voluntarily all documents, records, or other

19   tangible evidence relating to matters about which the USAO, or its

20   designee, inquires.

21        6.   For purposes of this agreement: (1) “Cooperation

22   Information” shall mean any statements made, or documents, records,

23   tangible evidence, or other information provided, by defendant

24   pursuant to defendant’s cooperation under this agreement or pursuant

25   to the letter agreements previously entered into by the parties dated

26   on or about November 20, 2023, January 16, 2024, and April 17, 2024
27   (the “Letter Agreements”); and (2) “Plea Information” shall mean any

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 1   statements made by defendant, under oath, at the guilty plea hearing

 2   and the agreed to factual basis statement in this agreement.

 3                             THE USAO’S OBLIGATIONS

 4        7.   The USAO agrees to:

 5             a.    Not contest facts agreed to in this agreement.

 6             b.    Abide by all agreements regarding sentencing contained

 7   in this agreement.

 8             c.    At the time of sentencing, provided that defendant

 9   demonstrates an acceptance of responsibility for the offenses up to

10   and including the time of sentencing, recommend a two-level reduction

11   in the applicable Sentencing Guidelines offense level, pursuant to

12   U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an

13   additional one-level reduction if available under that section.

14             d.    Not further criminally prosecute defendant for

15   violations of 18 U.S.C. §§ 1955 ,1956, 1957 arising out of

16   defendant’s conduct described in the agreed-to factual basis set

17   forth in Attachment A.     Defendant understands that the USAO is free

18   to criminally prosecute defendant for any other unlawful past conduct

19   or any unlawful conduct that occurs after the date of this agreement.

20   Defendant agrees that at the time of sentencing the Court may

21   consider the uncharged conduct in determining the applicable

22   Sentencing Guidelines range, the propriety and extent of any

23   departure from that range, and the sentence to be imposed after

24   consideration of the Sentencing Guidelines and all other relevant

25   factors under 18 U.S.C. § 3553(a).

26             e.    Recommend that defendant be sentenced to a term of
27   imprisonment no higher than the low end of the applicable Sentencing

28   Guidelines range, provided that the offense level used by the Court
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 1   to determine that range is 21 or higher and provided that the Court

 2   does not depart downward in offense level or criminal history

 3   category.   For purposes of this agreement, the low end of the

 4   Sentencing Guidelines range is that defined by the Sentencing Table

 5   in U.S.S.G. Chapter 5, Part A.

 6               DEFENDANT’S UNDERSTANDINGS REGARDING COOPERATION

 7        8.     Defendant understands the following:
 8               a.   Any knowingly false or misleading statement by

 9   defendant will subject defendant to prosecution for false statement,
10   obstruction of justice, and perjury and will constitute a breach by
11   defendant of this agreement.
12               b.   Nothing in this agreement requires the USAO or any
13   other prosecuting, enforcement, administrative, or regulatory
14   authority to accept any cooperation or assistance that defendant may
15   offer, or to use it in any particular way.

16               c.   Defendant cannot withdraw defendant’s guilty pleas if
17   the USAO does not make a motion pursuant to U.S.S.G. § 5K1.1 for a
18   reduced guideline range or if the USAO makes such a motion and the
19   Court does not grant it or if the Court grants such a USAO motion but
20   elects to sentence above the reduced range.
21               d.   At this time the USAO makes no agreement or
22   representation as to whether any cooperation that defendant has

23   provided or intends to provide constitutes or will constitute
24   substantial assistance.     The decision whether defendant has provided
25   substantial assistance will rest solely within the exclusive judgment
26   of the USAO.
27               e.   The USAO’s determination whether defendant has
28   provided substantial assistance will not depend in any way on whether
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 1   the government prevails at any trial or court hearing in which

 2   defendant testifies or in which the government otherwise presents

 3   information resulting from defendant’s cooperation.

 4                              NATURE OF THE OFFENSES

 5        9.    Defendant understands that for defendant to be guilty of

 6   the crime charged in Count One of the information, Operating an

 7   Unlawful Gambling Business, in violation of Title 18, United States

 8   Code, Section 1955, the following must be true:

 9              a.    Defendant conducted a business consisting of unlawful

10   sports gambling;

11              b.    Sports gambling was illegal in the State in which

12   defendant conducted the business, namely, California;

13              c.    The business involved five or more persons who

14   conducted all or part of the business; and

15              d.    The business had been in substantially continuous

16   operation by five or more persons for more than thirty days, or had a

17   gross revenue of more than $2,000 in any single day.

18        10.   Defendant understands that for a defendant to be guilty of

19   the crime charged in Count Two of the information, Money Laundering,

20   in violation of Title 18, United States Code, Section 1957, the

21   following must be true:

22              a.    Defendant knowingly engaged or attempted to engage in

23   a monetary transaction;

24              b.    Defendant knew the transaction involved criminally

25   derived property;

26              c.    Such property had a value greater than $10,000;
27              d.    Such property was, in fact, derived from one or more

28   violations of 18 U.S.C. § 1955; and
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 1                e.   The transaction occurred in the United States.

 2        11.     Defendant understands that for defendant to be guilty of

 3   the crime charged in Count Three, that is, Subscribing to a False Tax

 4   Return, in violation of Title 26, United States Code, Section

 5   7206(1), the following must be true:

 6                a.   Defendant signed and filed a tax return for the year

 7   2022 that he knew contained false information as to a material

 8   matter;

 9                b.   The return contained a written declaration that it was
10   being signed subject to the penalties of perjury; and

11                c.   In filing the false tax return, the defendant acted

12   willfully.

13        12.     In order to prove the defendant acted “willfully,” the

14   government must prove beyond a reasonable doubt that the defendant

15   knew federal tax law imposed a duty on him and the defendant

16   intentionally and voluntarily violated that duty.          A matter is
17   “material” if it has a natural tendency to influence, or is capable

18   of influencing, the decisions or activities of the Internal Revenue

19   Service.

20                            PENALTIES AND RESTITUTION

21        13.     Defendant understands that the statutory maximum sentence
22   that the Court can impose for a violation of Title 18, United States

23   Code, Section 1955, is: five years’ imprisonment; a three-year period
24   of supervised release; a fine of $250,000 or twice the gross gain or
25   gross loss resulting from the offense, whichever is greatest; and a
26   mandatory special assessment of $100.
27        14.     Defendant understands that the statutory maximum sentence
28   that the Court can impose for a violation of Title 18, United States
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 1   Code, Section 1957, is: ten years’ imprisonment; a three-year period

 2   of supervised release; a fine of $250,000 or twice the gross gain or

 3   gross loss resulting from the offense, whichever is greatest; and a

 4   mandatory special assessment of $100.

 5        15.   Defendant understands that the statutory maximum sentence

 6   that the Court can impose for a violation of Title 26, United States

 7   Code, Section 7206(1), is: three years’ imprisonment; a one-year

 8   period of supervised release; a fine of $250,000 or twice the gross

 9   gain or gross loss resulting from the offense, whichever is greatest;
10   and a mandatory special assessment of $100.

11        16.    Defendant understands, therefore, that the total maximum

12   sentence for all offenses to which defendant is pleading guilty is:

13   eighteen years imprisonment; a three-year period of supervised

14   release; a fine of $750,000 or twice the gross gain or gross loss

15   resulting from the offenses, whichever is greatest; and a mandatory

16   special assessment of $300.
17        17.   Defendant understands and agrees that as to Count Three,

18   the Court: (a) may order defendant to pay restitution in the form of

19   any additional taxes, interest, and penalties that defendant owes to

20   the United States based upon Count Three and any relevant conduct,

21   including unpaid taxes of $1,613,280 for tax year 2022; and (b) must

22   order defendant to pay the costs of prosecution, which may be in

23   addition to the statutory maximum fine stated above.

24        18.   The Court will also order forfeiture of the property listed

25   in the forfeiture notice in the information.

26        19.   Defendant understands that supervised release is a period
27   of time following imprisonment during which defendant will be subject

28   to various restrictions and requirements.        Defendant understands that
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 1   if defendant violates one or more of the conditions of any supervised

 2   release imposed, defendant may be returned to prison for all or part

 3   of the term of supervised release authorized by statute for the

 4   offense that resulted in the term of supervised release, which could

 5   result in defendant serving a total term of imprisonment greater than

 6   the statutory maximum stated above.

 7        20.   Defendant understands that, by pleading guilty, defendant

 8   may be giving up valuable government benefits and valuable civic

 9   rights, such as the right to vote, the right to possess a firearm,
10   the right to hold office, and the right to serve on a jury.

11   Defendant understands that he is pleading guilty to a felony and that

12   it is a federal crime for a convicted felon to possess a firearm or

13   ammunition.   Defendant understands that the convictions in this case

14   may also subject defendant to various other collateral consequences,

15   including but not limited to revocation of probation, parole, or

16   supervised release in another case and suspension or revocation of a
17   professional license.     Defendant understands that unanticipated

18   collateral consequences will not serve as grounds to withdraw

19   defendant’s guilty pleas.

20        21.   Defendant understands that, if defendant is not a United

21   States citizen, the felony convictions in this case may subject

22   defendant to: removal, also known as deportation, which may, under

23   some circumstances, be mandatory; denial of citizenship; and denial

24   of admission to the United States in the future.         The Court cannot,

25   and defendant’s attorney also may not be able to, advise defendant

26   fully regarding the immigration consequences of the felony
27   convictions in this case.      Defendant understands that unexpected

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 1   immigration consequences will not serve as grounds to withdraw

 2   defendant’s guilty pleas.

 3                                   FACTUAL BASIS

 4        22.   Defendant admits that defendant is, in fact, guilty of the

 5   offenses to which defendant is agreeing to plead guilty. Defendant

 6   and the USAO agree to the statement of facts provided for in

 7   Attachment A, attached hereto, and agree that this statement of facts

 8   is sufficient to support a plea of guilty to the charges described in

 9   this agreement and to establish the Sentencing Guidelines factors set

10   forth in paragraph 24, below but is not meant to be a complete

11   recitation of all facts relevant to the underlying criminal conduct

12   or all facts known to either party that relate to that conduct.

13                                SENTENCING FACTORS

14        23.   Defendant understands that in determining defendant’s
15   sentence the Court is required to calculate the applicable Sentencing

16   Guidelines range and to consider that range, possible departures
17   under the Sentencing Guidelines, and the other sentencing factors set
18   forth in 18 U.S.C. § 3553(a).      Defendant understands that the
19   Sentencing Guidelines are advisory only, that defendant cannot have
20   any expectation of receiving a sentence within the calculated
21   Sentencing Guidelines range, and that after considering the
22   Sentencing Guidelines and the other § 3553(a) factors, the Court will

23   be free to exercise its discretion to impose any sentence it finds
24   appropriate up to the maximum set by statute for the crimes of
25   conviction.
26        24.   Defendant and the USAO agree to the following applicable
27   Sentencing Guidelines factors:
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 1     Count One:

 2     Base Offense Level:                     12             USSG § 2E3.1(a)(2)

 3
       Count Two
 4
       Base Offense Level:                     12             USSG § 2S1.1(a)(1)
 5
       Violation of 18 U.S.C. § 1957           +1         USSG § 2S1.1(b)(2)(A)
 6
       Count Three
 7
       Base Offense Level:                     22       USSG §§ 2T1.1, 2T4.1(I)
 8
       Failure to report/correctly
 9     identify unlawful income                +2             USSG § 2T1.1(b)(1)

10   Defendant and the USAO reserve the right to argue that additional

11   specific offense characteristics, adjustments, and departures under

12   the Sentencing Guidelines are appropriate.

13        25.   Defendant understands that there is no agreement as to

14   defendant’s criminal history or criminal history category.

15        26.   Defendant and the USAO reserve the right to argue for a

16   sentence outside the sentencing range established by the Sentencing

17   Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),

18   (a)(2), (a)(3), (a)(6), and (a)(7).

19                        WAIVER OF CONSTITUTIONAL RIGHTS

20        27.   Defendant understands that by pleading guilty, defendant

21   gives up the following rights:

22              a.    The right to persist in a plea of not guilty.

23              b.    The right to a speedy and public trial by jury.

24              c.    The right to be represented by counsel – and if

25   necessary have the Court appoint counsel - at trial.          Defendant

26   understands, however, that, defendant retains the right to be

27   represented by counsel – and if necessary have the Court appoint

28   counsel – at every other stage of the proceeding.

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 1              d.    The right to be presumed innocent and to have the

 2   burden of proof placed on the government to prove defendant guilty

 3   beyond a reasonable doubt.

 4              e.    The right to confront and cross-examine witnesses

 5   against defendant.

 6              f.    The right to testify and to present evidence in

 7   opposition to the charges, including the right to compel the

 8   attendance of witnesses to testify.

 9              g.    The right not to be compelled to testify, and, if
10   defendant chose not to testify or present evidence, to have that

11   choice not be used against defendant.

12              h.    Any and all rights to pursue any affirmative defenses,

13   Fourth Amendment or Fifth Amendment claims, and other pretrial

14   motions that have been filed or could be filed.

15                        WAIVER OF RETURN OF DIGITAL DATA

16        28.   Understanding that the government has in its possession
17   digital devices and/or digital media seized from defendant, defendant
18   waives any right to the return of digital data contained on those
19   digital devices and/or digital media and agrees that if any of these
20   digital devices and/or digital media are returned to defendant, the
21   government may delete all digital data from those digital devices
22   and/or digital media before they are returned to defendant.

23                         WAIVER OF APPEAL OF CONVICTION
24        29.   Defendant understands that, with the exception of an appeal
25   based on a claim that defendant’s guilty pleas were involuntary, by
26   pleading guilty defendant is waiving and giving up any right to
27   appeal defendant’s convictions on the offenses to which defendant is
28   pleading guilty.    Defendant understands that this waiver includes,
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 1   but is not limited to, arguments that the statutes to which defendant

 2   is pleading guilty are unconstitutional, and any and all claims that

 3   the statement of facts provided herein is insufficient to support

 4   defendant’s pleas of guilty.

 5     LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE AND COLLATERAL ATTACK

 6        30.   Defendant agrees that, provided the Court imposes a term of

 7   imprisonment within or below the range corresponding to an offense

 8   level of 21 and the criminal history category calculated by the

 9   Court, defendant gives up the right to appeal all of the following:

10   (a) the procedures and calculations used to determine and impose any

11   portion of the sentence; (b) the term of imprisonment imposed by the

12   Court; (c) the fine imposed by the Court, provided it is within the

13   statutory maximum; (d) to the extent permitted by law, the

14   constitutionality or legality of defendant’s sentence, provided it is

15   within the statutory maximum; (e) the amount and terms of any

16   restitution order, provided it requires payment of no more than

17   $1,613,280; (f) the term of probation or supervised release imposed

18   by the Court, provided it is within the statutory maximum; and (g)

19   any of the following conditions of probation or supervised release

20   imposed by the Court: the conditions set forth in Second Amended

21   General Order 20-04 of this Court; the drug testing conditions

22   mandated by 18 U.S.C. §§ 3563(a)(5) and 3583(d); and the alcohol and

23   drug use conditions authorized by 18 U.S.C. § 3563(b)(7).

24        31.   Defendant also gives up any right to bring a post-

25   conviction collateral attack on the conviction or sentence, except a

26   post-conviction collateral attack based on a claim of ineffective
27   assistance of counsel, a claim of newly discovered evidence, or an

28   explicitly retroactive change in the applicable Sentencing
                                          17
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 1   Guidelines, sentencing statutes, or statutes of conviction.

 2   Defendant understands that this waiver includes, but is not limited

 3   to, arguments that the statutes and regulations to which defendant is

 4   pleading guilty are unconstitutional, and any and all claims that the

 5   statement of facts provided herein is insufficient to support

 6   defendant’s plea of guilty.

 7        32.   The USAO agrees that, provided (a) all portions of the

 8   sentence are at or below the statutory maximum specified above and

 9   (b) the Court imposes a term of imprisonment within or above the
10   range corresponding to an offense level of 21 and the criminal

11   history category calculated by the Court, the USAO gives up its right

12   to appeal any portion of the sentence, with the exception that the

13   USAO reserves the right to appeal the amount of restitution ordered

14   if that amount is less than $1,613,280.

15                      RESULT OF WITHDRAWAL OF GUILTY PLEA

16        33.   Defendant agrees that if, after entering guilty pleas
17   pursuant to this agreement, defendant seeks to withdraw and succeeds
18   in withdrawing defendant’s guilty pleas on any basis other than a
19   claim and finding that entry into this plea agreement was
20   involuntary, then (a) the USAO will be relieved of all of its
21   obligations under this agreement, including in particular its
22   obligations regarding the use of Cooperation Information; (b) in any

23   investigation, criminal prosecution, or civil, administrative, or
24   regulatory action, defendant agrees that any Cooperation Information
25   and any evidence derived from any Cooperation Information shall be
26   admissible against defendant, and defendant will not assert, and
27   hereby waives and gives up, any claim under the United States
28   Constitution, any statute, or any federal rule, that any Cooperation
                                          18
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 1   Information or any evidence derived from any Cooperation Information

 2   should be suppressed or is inadmissible; and (c) should the USAO

 3   choose to pursue any charge that was either dismissed or not filed as

 4   a result of this agreement, then (i) any applicable statute of

 5   limitations will be tolled between the date of defendant’s signing of

 6   this agreement and the filing commencing any such action; and

 7   (ii) defendant waives and gives up all defenses based on the statute

 8   of limitations, any claim of pre-indictment delay, or any speedy

 9   trial claim with respect to any such action, except to the extent
10   that such defenses existed as of the date of defendant’s signing this

11   agreement.

12                    RESULT OF VACATUR, REVERSAL OR SET-ASIDE

13        34.     Defendant agrees that if any count of conviction is
14   vacated, reversed, or set aside, the USAO may: (a) ask the Court to
15   resentence defendant on any remaining counts of conviction, with both

16   the USAO and defendant being released from any stipulations regarding
17   sentencing contained in this agreement, (b) ask the Court to void the
18   entire plea agreement and vacate defendant’s guilty pleas on any
19   remaining counts of conviction, with both the USAO and defendant
20   being released from all their obligations under this agreement, or
21   (c) leave defendant’s remaining convictions, sentence, and plea
22   agreement intact.    Defendant agrees that the choice among these three

23   options rests in the exclusive discretion of the USAO.
24                           EFFECTIVE DATE OF AGREEMENT
25        35.     This agreement is effective upon signature and execution of
26   all required certifications by defendant, defendant’s counsel, and an
27   Assistant United States Attorney. Defendant expressly waives any
28
                                          19
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 1   argument that this agreement is not binding until accepted by a

 2   court.

 3                                BREACH OF AGREEMENT

 4        36.   Defendant agrees that if defendant, at any time after the

 5   effective date of this agreement, knowingly violates or fails to

 6   perform any of defendant’s obligations under this agreement (“a

 7   breach”), the USAO may declare this agreement breached.           For example,

 8   if defendant knowingly, in an interview, before a grand jury, or at

 9   trial, falsely accuses another person of criminal conduct or falsely

10   minimizes defendant’s own role, or the role of another, in criminal

11   conduct, defendant will have breached this agreement.          All of

12   defendant’s obligations are material, a single breach of this

13   agreement is sufficient for the USAO to declare a breach, and

14   defendant shall not be deemed to have cured a breach without the

15   express agreement of the USAO in writing.        If the USAO declares this

16   agreement breached, and the Court finds such a breach to have

17   occurred, then:

18              a.     If defendant has previously entered guilty pleas

19   pursuant to this agreement, defendant will not be able to withdraw

20   the guilty pleas.

21              b.     The USAO will be relieved of all its obligations under

22   this agreement; in particular, the USAO: (i) will no longer be bound

23   by any agreements concerning sentencing and will be free to seek any

24   sentence up to the statutory maximum for the crimes to which

25   defendant has pleaded guilty; (ii) will no longer be bound by any

26   agreements regarding criminal prosecution, and will be free to
27   criminally prosecute defendant for any crime, including charges that

28   the USAO would otherwise have been obligated not to criminally
                                          20
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 1   prosecute pursuant to this agreement; and (iii) will no longer be

 2   bound by any agreement regarding the use of Cooperation Information

 3   and will be free to use any Cooperation Information in any way in any

 4   investigation, criminal prosecution, or civil, administrative, or

 5   regulatory action.

 6              c.    The USAO will be free to criminally prosecute

 7   defendant for false statement, obstruction of justice, and perjury

 8   based on any knowingly false or misleading statement by defendant.

 9              d.    In any investigation, criminal prosecution, or civil,
10   administrative, or regulatory action: (i) defendant will not assert,

11   and hereby waives and gives up, any claim that any Cooperation

12   Information was obtained in violation of the Fifth Amendment

13   privilege against compelled self-incrimination; and (ii) defendant

14   agrees that any Cooperation Information and any Plea Information, as

15   well as any evidence derived from any Cooperation Information or any

16   Plea Information, shall be admissible against defendant, and
17   defendant will not assert, and hereby waives and gives up, any claim

18   under the United States Constitution, any statute, Rule 410 of the

19   Federal Rules of Evidence, Rule 11(f) of the Federal Rules of

20   Criminal Procedure, or any other federal rule, that any Cooperation

21   Information, any Plea Information, or any evidence derived from any

22   Cooperation Information or any Plea Information should be suppressed

23   or is inadmissible.

24        37.   Following the Court’s finding of a knowing breach of this

25   agreement by defendant, should the USAO choose to pursue any charge

26   or any civil, administrative, or regulatory action that was either
27   dismissed or not filed as a result of this agreement, then:

28
                                          21
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 1              a.    Defendant agrees that any applicable statute of

 2   limitations is tolled between the date of defendant’s signing of this

 3   agreement and the filing commencing any such action.

 4              b.    Defendant waives and gives up all defenses based on

 5   the statute of limitations, any claim of pre-indictment delay, or any

 6   speedy trial claim with respect to any such action, except to the

 7   extent that such defenses existed as of the date of defendant’s

 8   signing this agreement.

 9          COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES
10                                OFFICE NOT PARTIES
11        38.   Defendant understands that the Court and the United States
12   Probation and Pretrial Services Office are not parties to this
13   agreement and need not accept any of the USAO’s sentencing
14   recommendations or the parties’ agreements to facts or sentencing
15   factors.

16        39.   Defendant understands that both defendant and the USAO are
17   free to: (a) supplement the facts by supplying relevant information
18   to the United States Probation and Pretrial Services Office and the
19   Court, (b) correct any and all factual misstatements relating to the
20   Court’s Sentencing Guidelines calculations and determination of
21   sentence, and (c) argue on appeal and collateral review that the
22   Court’s Sentencing Guidelines calculations and the sentence it

23   chooses to impose are not error, although each party agrees to
24   maintain its view that the calculations in paragraph 24 are
25   consistent with the facts of this case.        While this paragraph permits
26   both the USAO and defendant to submit full and complete factual
27   information to the United States Probation and Pretrial Services
28   Office and the Court, even if that factual information may be viewed
                                          22
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 1   as inconsistent with the facts agreed to in this agreement, this

 2   paragraph does not affect defendant’s and the USAO’s obligations not

 3   to contest the facts agreed to in this agreement.

 4        40.   Defendant understands that even if the Court ignores any

 5   sentencing recommendation, finds facts or reaches conclusions

 6   different from those agreed to, and/or imposes any sentence up to the

 7   maximum established by statute, defendant cannot, for that reason,

 8   withdraw defendant’s guilty pleas, and defendant will remain bound to

 9   fulfill all of defendant’s obligations under this agreement.
10   Defendant understands that no one –- not the prosecutor, defendant’s

11   attorney, or the Court –- can make a binding prediction or promise

12   regarding the sentence defendant will receive, except that it will be

13   within the statutory maximum.

14                             NO ADDITIONAL AGREEMENTS

15        41.   Defendant understands that, except as set forth herein,

16   there are no promises, understandings, or agreements between the USAO
17   and defendant or defendant’s attorney, and that no additional
18   promise, understanding, or agreement may be entered into unless in a
19   writing signed by all parties or on the record in court.
20                PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING
21        42.   The parties agree that this agreement will be considered
22   part of the record of defendant’s guilty plea hearing as if the

23   entire agreement had been read into the record of the proceeding.
24

25    AGREED AND ACCEPTED
26    UNITED STATES ATTORNEY’S OFFICE
      FOR THE CENTRAL DISTRICT OF
27    CALIFORNIA
28    E. MARTIN ESTRADA
                                          23
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Case 8:24-cr-00080-JWH Document 9 Filed 06/25/24 Page 25 of 40 Page ID #:48
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 1                     CERTIFICATION OF DEFENDANT’S ATTORNEY

 2        I am Mathew Bowyer’s attorney.       I have carefully and thoroughly

 3   discussed every part of this agreement with my client.          Further, I

 4   have fully advised my client of his rights, of possible pretrial

 5   motions that might be filed, of possible defenses that might be

 6   asserted either prior to or at trial, of the sentencing factors set

 7   forth in 18 U.S.C. § 3553(a), of relevant Sentencing Guidelines

 8   provisions, and of the consequences of entering into this agreement.

 9   To my knowledge: no promises, inducements, or representations of any

10   kind have been made to my client other than those contained in this

11   agreement; no one has threatened or forced my client in any way to

12   enter into this agreement; my client’s decision to enter into this

13   agreement is an informed and voluntary one; and the factual basis set

14   forth in this agreement is sufficient to support my client’s entry of

15   guilty pleas pursuant to this agreement.

16                                                        5/13/24
17    DIANE BASS                                      Date
      Attorney for Defendant
                    D
18    MATHEW BOWYER
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     Case 8:24-cr-00080-JWH Document 9 Filed 06/25/24 Page 27 of 40 Page ID #:50



 1                                    Attachment A

 2                                Statement of Facts

 3         The following Statement of Facts is incorporated by

 4   reference as part of the Agreement dated ________, between the

 5   United States Attorney’s Office for the Central District of

 6   California (the “USAO”)and defendant MATHEW R. BOWYER (“BOWYER”).

 7   The USAO and BOWYER agree that the following facts are true and

 8   correct.

 9        1.    At all times relevant to this Agreement, Casino A

10   operated as a Nevada casino licensed and regulated by the Nevada

11   Gaming Control Board, in Las Vegas, Nevada.

12        2.    Beginning on a date unknown and continuing to on or about

13   October 5, 2023, in Los Angeles and Orange Counties, California

14   and Clark County, Nevada, defendant operated an unlicensed and

15   illegal bookmaking business that took bets for money on the

16   outcome of sporting events from various persons at agreed-upon

17   odds (the “Bowyer Gambling Business”).

18        3.    Defendant operated the Bowyer Gambling Business in

19   violation of California Penal Code Section 337(a), which prohibits

20   bookmaking within the state of California.         The Bowyer Gambling

21   Business involved more than five persons who conducted or financed

22   all or part of the business.       The Bowyer Gambling Business

23   remained in substantially continuous operation by at least five

24   such persons for at least five years and often had gross revenue

25   of well over $2,000 on a single day.        The Bowyer Gambling Business

26   had more than 700 bettors at times.
27        4.    Defendant operated the Bowyer Gambling Business out of

28   various locations in Los Angeles and Orange Counties, California,

                                          27
     Case 8:24-cr-00080-JWH Document 9 Filed 06/25/24 Page 28 of 40 Page ID #:51



 1   and Clark County, Nevada, and in these locations solicited and

 2   accepted customers for the Bowyer Gambling Business.           Defendant

 3   placed and accepted bets from others for the Bowyer Gambling

 4   Business himself, and also used other persons to place and accept

 5   bets from others for the Bowyer Gambling Business.

 6        5.    Defendant employed agents and sub-agents working for the

 7   Bowyer Gambling Business who were paid a portion of the losses

 8   bettors incurred and paid.       These agents would be responsible for

 9   referring clients, recruiting and maintaining their own bettors,
10   placing and accepting bets from bettors, demanding and collecting

11   losses from bettors, and distributing winnings to bettors on

12   behalf of the Bowyer Gambling Business.         Some agents were

13   themselves also bettors with the Bowyer Gambling Business.

14   Defendant would, at times, pay these agents’ commissions with

15   casino chips from Casino A.

16        6.    Defendant and other agents of the Bowyer Gambling
17   Business would use multiple websites (the “Betting Websites”) and

18   a call center controlled by a third-party service in order to

19   create accounts through which the Bowyer Gambling Business’s

20   agents and customers could place and track wagers.           The Betting

21   Websites were based in Costa Rica.        When defendant or his agents

22   found a new customer who wanted to place wagers on sporting events

23   with the Bowyer Gambling Business, defendant, or one of his

24   agents, contacted the operators of the Betting Websites and

25   arranged for an account to be set up for the customer.           After the

26   account was established, defendant and/or his agents advised the
27   customer of the limits on his or her wagering activity, and

28   provided the customer with access credentials to the Betting
                                          28
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 1   Websites which would allow California residents and others to

 2   place wagers on sporting events over the internet, in violation of

 3   California Penal Code Section 337(a).

 4        7.    Defendant and the operators of the Betting Websites would

 5   keep track of the wagering activity and win/loss records for

 6   customers of the Bowyer Gambling Business.         When a bettor won a

 7   bet, defendant or his agents paid the bettor based on the size of

 8   the bet and the odds that had been set on the Betting Websites.

 9   When a bettor lost, defendant or his agents collected the amounts
10   due under the terms of the bet.        At other times, defendant would

11   instruct losing bettors to directly pay winning bettors of the

12   Bowyer Gambling Business.

13        8.    Defendant used numerous bank accounts in his name, and

14   the names of others, to receive and pay illicit proceeds from the

15   Bowyer Gambling Business.      One of these bank accounts was an

16   account at Bank A in the name of one of defendant’s associates,
17   with an account number ending in ‘1911 (the “x1911 Account”).

18   Defendant had login information and access to the x1911 Account,

19   and used the x1911 Account to receive proceeds of the Bowyer

20   Gambling Business, as well as to transfer proceeds of the Bowyer

21   Gambling Business for defendant’s own use.         Defendant also

22   directed proceeds of the Bowyer Gambling Business into other bank

23   accounts held by defendant’s associates, including but not limited

24   to an account at Bank A with an account number ending in ‘1530

25   (the “x1530 Account”).

26        9.    In some instances, defendant recruited casino hosts to be
27   agents of the Bowyer Gambling Business.         This included at least

28   two hosts at Casino A, who referred at least four new potential
                                          29
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 1   bettors to the Bowyer Gambling Business.

 2        10.   At times, defendant operated the Bowyer Gambling Business

 3   while gambling in Casino A, both in the Casino A sports book and

 4   in private gambling salons at Casino A.         Defendant would adjust

 5   credit lines and discuss payments and bets with clients of the

 6   Bowyer Gambling Business by phone while gambling in Casino A.             At

 7   times, Casino A staff would stop play at a table game while

 8   defendant took calls and discussed the Bowyer Gambling Business.

 9   At other times, defendant would collect payments of proceeds of
10   the Bowyer Gambling Business while gambling at Casino A, including

11   payments in casino chips or in cash in envelopes or bags.

12   Defendant would bring agents, bettors, and associates of the

13   Bowyer Gambling Business to Casino A with him to gamble as a

14   group, some of which were referred to by Casino A employees as the

15   “Bowyer Group.”     In addition, Casino A’s sports book would at

16   times reach out to defendant and invite defendant to make large
17   bets, to offset the sports book’s risk.

18        11.   One client of the Bowyer Gambling Business was I.M., who

19   was a translator and de facto manger for a professional baseball

20   player (“Individual A”).

21        12.   Between in or about September 2021 and January 2024, I.M.

22   placed at least 19,000 bets with the Bowyer Gambling Business

23   through one of the Betting Websites.        During this period, I.M. had

24   total winning bets of at least $142,256,769.74, and total losing

25   bets of at least $182,935,206.68, leaving a total net balance of

26   negative $40,678,436.94. On a regular basis during this timeframe,
27   defendant would “bump” I.M., i.e., increase I.M.’s betting limits.

28        13.   Between February 2022 and January 2024, defendant
                                          30
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 1   directed I.M. make payments of at least $15,000,000 to the x1911

 2   Account, all of which were proceeds of the Bowyer Gambling

 3   Business.     Defendant also directed I.M. to pay at least $1,250,000

 4   to the x1530 Account, all of which were proceeds of the Bowyer

 5   Gambling Business.     Of these illegal proceeds, defendant

 6   transferred or directed the transfer of least $9,339,000 to

 7   Casino A, in the form of wire transfers as payment for markers for

 8   defendant and his associates.       During this period, defendant lost

 9   at least $4,164,299 at Casino A, and one of his associates (the
10   named accountholder for the x1911 Account) lost at least

11   $1,585,960 at Casino A.      Defendant also transferred or directed

12   the transfer of least $9 million from the x1911 Account to at

13   least one other casino in the Southern California area, also to

14   pay for markers or credit lines for defendant and/or his

15   associates.

16        14.    Individuals B and C were also clients of the Bowyer
17   Gambling Business.     Individual B was a professional baseball

18   player for a Southern California baseball club.          Individual C was

19   a former minor league baseball player.         Individuals B and C were

20   also close friends.     Individual B was assigned account number

21   ending in x734 and placed bets with the Bowyer Gambling Business

22   on basketball, football, and hockey.        Individual C was assigned

23   account number ending in x820 and placed bets with the Bowyer

24   Gambling Business baseball, basketball, football, and hockey,

25   which included bets on baseball games in which Individual B

26   played.
27        15.    Defendant also admits that defendant knowingly and

28   willfully falsely reported his total taxable income to the Internal
                                          31
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 1   Revenue Service (“IRS”) on his tax return for tax year 2022.

 2   Defendant admits that defendant knew that he had additional income

 3   in the following amounts that defendant knowingly and willfully

 4   failed to report on his tax returns:

 5       Tax Year      Reported Total Income         Unreported Income
 6       2022          $607,897                      $4,030,938
 7

 8        16.   Specifically, on or about September 26, 2023, in Orange
 9   County, California, defendant willfully made and subscribed to a
10   materially false United States Individual Income Tax Return, Form
11   1040, for tax year 2022, which was filed with the IRS and verified
12   by a written declaration that it was made under the penalties of
13   perjury, which defendant did not believe to be true and correct as
14   to every material matter, in that defendant reported on line 15
15   that his total taxable income for calendar year 2022 was $607,897,
16   when, in truth and in fact, as defendant then knew, his total
17   taxable income for the year 2022 was at least $4,587,954.
18   Specifically, in 2022, defendant received at least $4,030,938 in
19   income from the unlawful Bowyer Gambling Business, including, but
20   not limited to, approximately $3,800,000 in wire transfers into the
21   x1911 Account, which defendant did not declare.
22        17.    The false information provided by defendant was material
23   in that it affected the IRS’s calculation of the amount of income
24   that defendant had received in 2022, and prevented the IRS from
25   verifying the accuracy of the amount of tax claimed to be owed on
26   the return and determining whether additional income tax was owed.
27   Defendant acted willfully.      Defendant knew that the law required
28   him to report all income accurately and to pay all income tax that
                                          32
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 1   was due and owing.    Defendant voluntarily and intentionally

 2   violated those duties.     As a result of the false information

 3   defendant provided, defendant owes additional taxes of $1,613,280

 4   for tax year 2022 (before interest and penalties).

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 1                                     Exhibit A

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 8                          UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,               CR No.

11             Plaintiff,                    I N F O R M A T I O N

12             v.                            [18 U.S.C. § 1955: Operating an
                                             Illegal Gambling Business; 18
13   MATHEW R. BOWYER,                       U.S.C. § 1957: Transactional Money
                                             Laundering; 26 U.S.C. § 7206(1):
14             Defendant.                    Subscribing to a False Tax Return;
                                             18 U.S.C. § 1955(d), 28 U.S.C.
15                                           § 246l(c): Criminal Forfeiture]
16

17

18
          The United States Attorney charges:
19
                                       COUNT ONE
20
                        [18 U.S.C. § 1955; 18 U.S.C. § 2(a)]
21
          Beginning on an unknown date and continuing through on or about
22
     October 5, 2023, in Los Angeles and Orange Counties, within the
23
     Central District of California, and elsewhere, defendant MATHEW R.
24
     BOWYER aided, conducted, financed, managed, supervised, directed, and
25
     owned an illegal gambling business, specifically, a bookmaking
26
     business involving taking bets on the outcomes of sporting events at
27
     agreed-upon odds in violation of California Penal Code Section 337a,
28
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 1   which business; involved at least five persons who conducted,

 2   financed, managed, supervised, directed, and owned all or part of the

 3   business; had been in substantially continuous operation by at least

 4   five persons for a period in excess of thirty days; and had gross

 5   revenue of more than $2,000 in a single day.

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 1                                     COUNT TWO

 2                      [18 U.S.C. § 1957; 18 U.S.C. § 2(a)]

 3        On or about July 31, 2023, in Los Angeles and Orange Counties,

 4   within the Central District of California, and elsewhere, defendant

 5   BOWYER, knowing that the funds involved represented the proceeds of

 6   some form of unlawful activity, engaged in and willfully caused

 7   others to engage in a monetary transaction affecting interstate

 8   commerce in criminally derived property of a value greater than

 9   $10,000, to wit, a wire transfer of $521,000 to a casino in Las

10   Vegas, Nevada, which property, in fact, was derived from specified

11   unlawful activity, namely, operation of an illegal gambling business,

12   committed in violation of Title 18, United States Code, Section 1955,

13   as charged in Count One of this Information.

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 1                                    COUNT THREE

 2                              [26 U.S.C. § 7206(1)]

 3        On or about September 26, 2023, in Orange County, within the

 4   Central District of California, and elsewhere, defendant MATHEW R.

 5   BOWYER, a resident of Orange County, California, willfully made and

 6   subscribed to a materially false United States Individual Income Tax

 7   Return, Form 1040, for tax year 2022, which was verified by a written

 8   declaration that it was made under the penalties of perjury, and

 9   which was filed with the Internal Revenue Service, which return

10   defendant did not believe to be true and correct as to every material

11   matter, in that defendant reported, on line 10, that his taxable

12   income for calendar year 2022 was $607,897, when, in truth and in

13   fact, as defendant then knew, his taxable income for the year 2022

14   was substantially higher than that amount.

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 1                              FORFEITURE ALLEGATION

 2                [18 U.S.C. § 1955(d) and 28 U.S.C. § 2461(c)]

 3        1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 1955(d) and Title 28, United States Code,

 7   Section 2461(c), in the event of defendant’s conviction of the

 8   offense set forth in Count One of this information.

 9        2.    The defendant, if so convicted, shall forfeit to the United

10   States of America the following:

11              (a)   Any property, including money, used in such offense,

12   and any property traceable to such property; and

13              (b)   To the extent such property is not available for

14   forfeiture, a sum of money equal to the total value of the property

15   described in subparagraph (a).

16        3.    Pursuant to Title 21, United States Code, Section 853(p),

17   as incorporated by Title 18, United States Code, Section 982(b)(1),

18   and Title 18, United States Code, Section 982(b)(2), the defendant,

19   if so convicted, shall forfeit substitute property, if, by any act or

20   omission of the defendant, the property described in the preceding

21   paragraph, or any portion thereof: (a) cannot be located upon the

22   exercise of due diligence; (b) has been transferred, sold to, or

23   deposited with a third party; (c) has been placed beyond the

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 1   jurisdiction of the court; (d) has been substantially diminished in

 2   value; or (e) has been commingled with other property that cannot be

 3   divided without difficulty.

 4                                          E. MARTIN ESTRADA
                                            United States Attorney
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 7                                          MACK E. JENKINS
                                            Assistant United States Attorney
 8                                          Chief, Criminal Division
 9                                          MARK A. WILLIAMS
                                            Assistant United States Attorney
10                                          Chief, Environmental Crimes and
                                            Consumer Protection Section
11
                                            RACHEL N. AGRESS
12                                          Special Assistant United States
                                            Attorney
13                                          International Narcotics, Money
                                              Laundering, and Racketeering
14                                            Section
15                                          JEFF MITCHELL
                                            Assistant United States Attorney
16                                          Major Frauds Section
17                                          DAN G. BOYLE
                                            Assistant United States Attorney
18                                          Environmental Crimes and
                                            Consumer Protection Section
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